           Case
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DJF:RDE

                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LORRAINE GREEN,                     :
                                    :
           Plaintiff,               :
                                    :
           v.                       :               Case No:
                                    :
MING PAN a/k/a PAN MING, THE        :
UNITED STATES OF AMERICA,           :
t/d/b/a LEBANON VA MEDICAL          :
CENTER, DEPARTMENT OF               :
VETERANS AFFAIRS, and GAYLE         :
B. RYAN,                            :
                                    :
           Defendants.              :
____________________________________:

                  NOTICE OF REMOVAL OF CIVIL ACTION

      David J. Freed, United States Attorney for the Middle District of

Pennsylvania, by Richard D. Euliss, Assistant United States Attorney, on behalf of

the United States of America and other erroneously-named defendants, above,

hereby gives notice of the removal of the above-captioned matter from the Court of

Common Pleas for Lebanon County, Pennsylvania, to this Court, pursuant to 28

U.S.C. §§ 1346(b)(1), 1441(a), 1442, and 1446, and states as follows:

      1.      On or about September 21, 2018, Plaintiff Lorraine Green filed a

complaint in the Court of Common Pleas for Lebanon County, Pennsylvania, No.

2018-00908 (the “State Action”) against the United States and others. See Exhibit
           Case
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A.

      2.      The State Action invokes the Federal Tort Claims Act and seeks

monetary recovery for purportedly negligent medical care to Plaintiff.

      3.      A civil action filed in state court may be removed where the district

courts of the United States have original jurisdiction. See 28 U.S.C. § 1441(a). The

district courts of the United States have original jurisdiction over all claims, such as

this one, brought under the Federal Tort Claims Act. See U.S.C. § 1346(b)(1).

      4.      A civil action against the United States, or against any agency or officer

of the United States, may be removed from state court to the district court of the

United States for the district and division embracing the place wherein such action

is pending. See 28 U.S.C. § 1442(a)(1).

      5.      The United States accordingly removes the State Action to the United

States District Court for the Middle District of Pennsylvania pursuant to Sections

1441(a) and 1442(a)(1).

      6.      Pursuant to 28 U.S.C. § 1446, copies of all process, pleadings and

orders served in the State Action are attached hereto as Exhibit A.

      7.      Notice of Removal of this action will be mailed to the Prothonotary of

the Court of Common Pleas of Lebanon County this day, October 10, 2018.
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      WHEREFORE, the United States respectfully gives notice that the above-

captioned matter is removed to the United States District Court for the Middle

District of Pennsylvania.

                                           Respectfully submitted,

                                           DAVID J. FREED
                                           United States Attorney

                                           s/ Richard D. Euliss
                                           RICHARD D. EULISS
                                           Assistant U.S. Attorney
                                           228 Walnut Street, 2nd Floor
                                           P.O. Box 11754
                                           Harrisburg, PA 17108-1754
                                           Tel: (717) 221-4482
                                           Fax: (717) 221-4493
                                           Richard.D.Euliss@usdoj.gov
Date: October 10, 2018
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DJF:RDE

                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LORRAINE GREEN                 :
                               :
           Plaintiff,          :
                               :
           v.                  :                   Case No:
                               :
MING PAN a/k/a PAN MING, THE   :
UNITED STATES OF AMERICA,      :
t/d/b/a LEBANON VA MEDICAL     :
CENTER, DEPARTMENT OF          :
OF VETERANS AFFAIRS, and GAYLE :
B. RYAN,                       :
                               :
           Defendants.         :

                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that she is an employee in the Office of the
United States Attorney for the Middle District of Pennsylvania and is a person of
such age and discretion as to be competent to serve papers.

      That on this 10th day of October 2018, she served a copy of the foregoing

                NOTICE OF REMOVAL OF CIVIL ACTION

by placing a copy in a postpaid envelope addressed to the persons hereinafter named,
at the places and addresses stated below, which is the last known addresses, and by
depositing said envelopes and contents in the United States Mail at Harrisburg,
Pennsylvania:

Rolf Louis Patberg
Patberg Law Firm
1034 Peralta Street
Pittsburg, PA 15212
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Cynthia O’Donnell
Patberg Law Firm
1034 Peralta Street
Pittsburg, PA 15212



                                    /s/ Shelby Reed
                                    SHELBY REED
                                    Legal Assistant
